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                        EXHIBIT B
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                              UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                                        Washington, D.C. 20549

                                                                             Form 10-Q
                      QUARTERLY REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
                       EXCHANGE ACT OF 1934
                       For the quarterly period ended March 31, 2012
                                                                                                      OR

        ¨              TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
                       EXCHANGE ACT OF 1934
                       For the transition period from                         to

                                                                       Commission File No.: 0-50231


                             Federal National Mortgage Association
                                                                (Exact name of registrant as specified in its charter)

                                                                                   Fannie Mae

                        Federally chartered corporation                                                                      XX-XXXXXXX
                              (State or other jurisdiction of                                                               (I.R.S. Employer
                             incorporation or organization)                                                                Identification No.)


                            3900 Wisconsin Avenue, NW                                                                           20016
                                 Washington, DC                                                                               (Zip Code)
                        (Address of principal executive offices)

                                                         Registrant’s telephone number, including area code:
                                                                                   (202) 752-7000

Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during
the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements
for the past 90 days. Yes  No ¨
Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every Interactive Data File required to
be submitted and posted pursuant to Rule 405 of Regulation S-T (§ 232.405 of this chapter) during the preceding 12 months (or for such shorter period that
the registrant was required to submit and post such files). Yes  No ¨
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller reporting company. See the
definitions of “large accelerated filer,” “accelerated filer” and “smaller reporting company” in Rule 12b-2 of the Exchange Act.
Large accelerated filer ¨                              Accelerated filer                       Non-accelerated filer ¨                     Smaller reporting company ¨
                                                                           (Do not check if a smaller reporting company)

Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes ¨                   No 

As of March 31, 2012, there were 1,158,069,699 shares of common stock of the registrant outstanding.




                                                                                                                                                       DX420
                                                                                                                                                      ___________
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                                                                                                                                                        Exhibit 31.1

                                                                        CERTIFICATION
                                           PURSUANT TO SECURITIES EXCHANGE ACT RULE 13a-14(a)

I, Michael J. Williams, certify that:
1.    I have reviewed this Quarterly Report on Form 10-Q for the quarter ended March 31, 2012 of Fannie Mae (formally, the Federal National Mortgage
      Association);
2.    Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the
      statements made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3.    Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the
      financial condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4.    The registrant’s other certifying officer(s) and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in
      Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f))
      for the registrant and have:
                a. Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision,
         to ensure that material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those
         entities, particularly during the period in which this report is being prepared;
               b. Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our
         supervision, to provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external
         purposes in accordance with generally accepted accounting principles;
                c. Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the
         effectiveness of the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
               d. Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most
         recent fiscal quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to
         materially affect, the registrant’s internal control over financial reporting; and
5.    The registrant’s other certifying officer(s) and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the
      registrant’s auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
               a. All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are
         reasonably likely to adversely affect the registrant’s ability to record, process, summarize and report financial information; and
               b. Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal
         control over financial reporting.

                                                                                                   /s/ Michael J. Williams
                                                                                                   Michael J. Williams
                                                                                                   President and Chief Executive Officer

Date: May 9, 2012




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                                                                                                                                                        Exhibit 31.2

                                                                        CERTIFICATION
                                           PURSUANT TO SECURITIES EXCHANGE ACT RULE 13a-14(a)

I, Susan R. McFarland, certify that:
1.    I have reviewed this Quarterly Report on Form 10-Q for the quarter ended March 31, 2012 of Fannie Mae (formally, the Federal National Mortgage
      Association);
2.    Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the
      statements made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3.    Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the
      financial condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4.    The registrant’s other certifying officer(s) and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in
      Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f))
      for the registrant and have:
                a. Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision,
         to ensure that material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those
         entities, particularly during the period in which this report is being prepared;
               b. Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our
         supervision, to provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external
         purposes in accordance with generally accepted accounting principles;
                c. Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the
         effectiveness of the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
               d. Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most
         recent fiscal quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to
         materially affect, the registrant’s internal control over financial reporting; and
5.    The registrant’s other certifying officer(s) and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the
      registrant’s auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
               a. All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are
         reasonably likely to adversely affect the registrant’s ability to record, process, summarize and report financial information; and
               b. Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal
         control over financial reporting.

                                                                                                   /s/ Susan R. McFarland
                                                                                                   Susan R. McFarland
                                                                                                   Executive Vice President and
                                                                                                   Chief Financial Officer

Date: May 9, 2012




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                                                                                                                                                     Exhibit 32.1

                                                                       CERTIFICATION

In connection with the Quarterly Report on Form 10-Q of Fannie Mae (formally, the Federal National Mortgage Association) for the quarter ended March 31,
2012, as filed with the Securities and Exchange Commission on the date hereof (the “Report”), I, Michael J. Williams, President and Chief Executive Officer
of Fannie Mae, certify, pursuant to 18 U.S.C. Section 1350 that to my knowledge:
1.    The Report fully complies with the requirements of Section 13(a) or 15(d), as applicable, of the Securities Exchange Act of 1934; and
2.    The information contained in the Report fairly presents, in all material respects, the financial condition and results of operations of Fannie Mae.

                                                                                                  /s/ Michael J. Williams
                                                                                                  Michael J. Williams
                                                                                                  President and Chief Executive Officer

Date: May 9, 2012

The foregoing certification is being furnished solely pursuant to 18 U.S.C. Section 1350 and is not being filed as part of the Report or as a separate disclosure
document.




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                                                                                                                                                     Exhibit 32.2

                                                                       CERTIFICATION

In connection with the Quarterly Report on Form 10-Q of Fannie Mae (formally, the Federal National Mortgage Association) for the quarter ended March 31,
2012, as filed with the Securities and Exchange Commission on the date hereof (the “Report”), I, Susan R. McFarland, Executive Vice President and Chief
Financial Officer of Fannie Mae, certify, pursuant to 18 U.S.C. Section 1350, that to my knowledge:
1.    The Report fully complies with the requirements of Section 13(a) or 15(d), as applicable, of the Securities Exchange Act of 1934; and
2.    The information contained in the Report fairly presents, in all material respects, the financial condition and results of operations of Fannie Mae.

                                                                                                  /s/ Susan R. McFarland
                                                                                                  Susan R. McFarland
                                                                                                  Executive Vice President and
                                                                                                  Chief Financial Officer

Date: May 9, 2012

The foregoing certification is being furnished solely pursuant to 18 U.S.C. Section 1350 and is not being filed as part of the Report or as a separate disclosure
document.




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